Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 1 of 33



                                   ACTS
                                     OF THZ


                                THIR TIE TI

                    GENERAL ASSEMBLY
                                     OF TUZ



                    STATE OF NEW-J7ERSEr.

                               SE'COND SITTVIbt


                             CHAP. CLXXXV.

               An act to erect and set off a new township from the
                townships of Hanover and Morris, in the county
                of Morris.

                   SEc. 1.BE        IT ENACTED by the council
               and general asenibly of this stcite, and it is hereby
               enacted by the cmithority of the same, That all the
               district of the above townships of Hanover and Bound,
               Morris, included within the following limits, vi?.
               beginning at a pin oak tree standing on the bank
                 f Pqssaic rivcr, 'on lands ? Robert MoOre's, near
               the corner of Moses Stiles, about half a mile above
               Col. Cook's bridge, and running thence, south
               eighty nine degrees west, to a cherry tree in the
               northwest corner of the garden, late the property of
               Dr. Bern Budd, deceased ; thence in a direct line
               fo the cross roads by Daniel Crane's on Loantica
               Iiill ; from thence south, eighteen degrees west,
               fdrty-seven chains and flifty links to a stake and
               heap of stones on the brow of the hill back bf Zo-
               phar Freeman's house, 'fron thence southi five de-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 2 of 33




                 fifty years'; fro.   the passing of this act, repay the
                 proprietors of said. road, the amount of the Bums
                 expended thereon, with twelve per centum per an-
                 nuin in addition theyeto, deducting the neat amount
                 of toll receiVed, and in that case the said road shall
                 become the property of the state of New-Jersey,
                 and he. under the controul of the legislature thereof,
                 any thing in this act contained to the contrary not-
                 withstanding.
                   A. Passed at Trenton, February 24, 1806.




                                 CHAP. CLXXXVII.

                 An dict for establishing and conducting the military
                                 force of New-Jersey.

                    S c. 1. BE IT ENACTED by the council
                 dnd general assembly of this state, and it is hereby
       Who Ihali enactedby the authority of the same, That every free
       and       able bodied white male inhabitant of this state, who
                 is, or shall be of the age of eighteen years, and un-
                 der the age of forty-five years, (except ministers of
                 the gospel, the vice-president of the United States ;
                 the officers judicial and executive of the government
                 of the United States ; the members of both housies
                 of congress, and their respective officers ; all' tustotn
       Who fll house officers, with their clerks ; all post officers and
                 stage-drivers, who are employed in the care and
                 conveyance of the mail of the post office of the Uni.
                 ted States ; all ferrymen employed at any ferry on
                 the post road ; all inspectors of exports ; all pilots,
                  all mariners actually employed in the sea service of
                  any citizen or merchant within the United States)
       be enroll- shall severally and respectively be enrolled in the
       ed,        militia by the captain or commanding officer of the
                  company within whose bounds such citizen shall re-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 3 of 33




                    side,   P'avidedalways, That in cases of doubt res-
                   ptcting. Ie ageof any person enrolled, or intended
                   to be enrolled, the party questioned shall prove his
                   age, to the'satisraction of the officers of the company
                   within whose bounds he may reside, or a majority
                   of them.
                      Sac. 2. And be it enacled, That the militia in the
                   several counties of this state,- except Cape-MAay,
                   shall form each a brigade, to be cled after their Each .omn-
                   respeOlve counties.     Tho militia in the county ofa brigade &
                   Cape-May, shall be annexed and belong to the Cum- arranged ia
                   berlaild brigade ; the Burlington, Gloucester, Salem four divf-
                   and Cumberland brigades, shall compose the fierst ion,
                   division ; the Bergen, R ssex aid Morris brigades,-
                   shall compose the second divisiqn ; the SomLrset,
                   Middlesex and Monmouth brigades, shall compose
                   thethird division ; the Hunterdon and Sussex bri-
                   gades, shall compose the fourth division; and the,
                   several regiments, independent battalions, battalions,
                   squadrons and companies of infantry, light infantry,
                   grenadiers, artillery and cavalry, shall continue as at
                   present arranged ; subject nevertheless to such al-
                   terations andi arrangements of the regiments, battal- New com.
                                                                         .
                   ions, squadrons and companies as their presentpan               t
                                                                             ic, and
                                                                        taliona
                   numbers, or future increase or diminution maLy in regiments,
                   the judgment of the board of general and field ofli- may be or
                   cers of the several brigades, to which they respect- ganized by
                   ively belong, fiom time to time render necessary or of general
                   expedient, by forming such company or companies, and field
                   and attaching them to such battalions and regimentu offi.r.
                   as are already organized or may be, formed and or-
                   ganized in their several brigades, as the said board
                   of general and field officers shall order and direct
                   for the interest and convenience of the militia of
                   the brigade, and the general and field officers who
                   -re constituted a Loard *fordivers purposes men-
                   tioned in this act, shall meet as roon as they can be
                   convened, to makc as well as the necessary hrrange-
                   ments contemplated in this section, as for other du-
                   lies by this act enjoined on the said boatd for the
                   improvxement and conducting of die militia..
                                             C
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 4 of 33




                    * Sec. 3. Afid be it enacted, That the present offi:-
                   cers of the militia of this state, shall continue and!
                   exercise the several ranks and commissions whicli'
       Officers ofthy now respectively hold., Vacancies:by death,
           iri-ns, renfoval, resignation,or otherwise, shall be
                                                                  filled.up,
       regiments, so that the militia shall be officered as follows- to.
       battalions, each divisiori thierb sliall' be one major-general anjF
       companies t      aids-dc-eamp,'
                        a
                                          with tlferank of an major;
                                                                   jor;to to-
       contia~ued..OV
                 each'rigade one brigadier-gtneral,.:with' one bri--.
                 gade-inspector,, to serve also as brigade-major,
                 with .tht rank of major, one brigade or -senior sur-
                  gton, one brigade-judge-advocate, one brigade-pay-
                  ma'ister and one brigade-quartermaster ; one adju-.
                  tant-general, with the rank of brigadier-general ; to,
                  each regiment, one lieutenant-,jlonel-commandant ;-
                  anditoeach battalion and-squaoroii, one major ; to,
                  each cotiipany of-infantry,,lighi.infantry and- grwa-;
                  diers, one captain, one lieutenant and. one ensign,.
                  one clerk, for serjentits, four corporals, one drum-
                  mer, one fifer or bugler,. and not more than sixty-.
                  four, nor less than forty private individualsi or as,
                  near as may be, having regard, to their-local .situa-
       CavalrY, -tion-; to each troop of horse, there shnll.be one
                  captain, two lieutenants and one cornet, one clerk,.
                  four seijeants four corporals, one saddler, one far-
                  rier and one trumpeter,.and not more than forty-
                  eight nor less-. than thirty-two troopers ; to-each
                  company of artillery, there shall be onecaptain and
                  two lieutenants, one, clerk, four serjeaits',.four cor-
                 porals, si% gunners, six bombardiers, one drummer,
                 one filer, and not more than thirty-two norless; than
                 twenty matrosses., There shall be a regimental-
                 staff, to consist of one adjutant and one quarter-mas--
       staf I*w ter to rank as lieutenants, one. paymaster to each
       appointed battalion, one surgeon and one surgeon's-mate, one-
         d C3m. sejeant-major, one (rctm-major and one fife-major.
       all
                  All officers shall take rank according to the -date
                                                                       of
                 their commissions; and .when two of the same
                 grade bear an equal date, then their rank shall be
                    etermined by lot, to be drawn by them before the
                  commanding officer.of the division, brigade, regi--
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 5 of 33




                  :,,vent, battalion, company or detachment. The rq-
                  '-imental-staff except the paymasters shall be ap-
                   pointed by the field-officers. ,The, brigade and re-
                  -gimental-staff shaIV be commissioned by, the com-
                   mander, in cnief, on certificates of their appoiit-
                   *ment,under the hands and, seals of the officers
                   making the same: Andfuirther, There shall be one
                   adjutant and one quartcr-mastcu to each squadron -a c.ej
                   of cavalry and each independenf.battalion ; the non- t.     eoeo,-.
                   'commissioned officers and music to be appointed by ed, captain
                   .the captain and subalterns 4,the clerk to be elected to appoint.
                     by the company, and in case.of omission : -elect,
                  -or in case of refusal to act, sickness or absence, the
                    ,captain or commanding officer ofi the company shall
                  •nppoint; asuitable person, who. shall-undertake to
                  '.perform the duties enjoined by thi.act.
                     . Sac; 4. And be 'it    enacted, That each and every Ocers
                  ,officer commissioned, or ,%vho.inav hereafter be ap- °,Mr
                  ,pointed and commissioned in the manner-aforesaid, fnned,-and
                    shall, previous .to their :entering on the execution of hereafter
                  :their respective -offices, give assurance of fidelity         k nath
                    and attachmient to the government of this state, by ea!or
                   .-
                  -.taking and subscribing the following oath before offcer.
                     csome general orifield officer of the biigade :
                           I            dosincerely profess and swear (or
                              affirm as the case may be). that I will arid
                              do bear true faith and allegiance to the gov-
                             ,eminent established in this state, under the'
                              authority of the people ; and will with in-
                             :tegrity execute the office of      ,of the ml-
                              4ltia of New-Jersey according to the best of
                             ,myabilities : so help me God.
                        Ard -a certificate thereof-shall be made upon the
                   "back-of every commission ,by the general or field
                     officer, before :whom the 'said oath or affirmation
                     shall have been takcn and subscribed.               P
                        Sj:c. .. And be itenacted,Thatthe commanding
                     officer of every regiment and independent battalion To meet for
                     and squadron, shall call a meeting of the commis- improve.
                     sioned officers of their respective regiments, inde- ment.
                    -:pendent battalion3 and squadrons at such times and
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 6 of 33




                     pl~aces as lie shall ap oint' for improvement'in mili-
                     tary iexercise which shall hie at least twice and not
                     exceeding four times in ev.rv year.
                        SEc. 6. And be it *enacted, That the militia of-
         Mitlta to this state shall rendezvous three times in every year
         trainonc.!n for the .purpo, c 'of training, disciplining and ia-
         companies,        .        nta                      by;omae
         battalions proving in martial exercise, once by :companies
         and vegi- within their rcsppgtive bounds,' once by battalions
                      nwithin the bounds thereof, and once by regi-
                      ments, independent battalions and squadrons for
                      exercise, inspection and review : that the briga-
                      dier general or commanding officer of each brigade,
                      shall appoint the regimental parades, at suchtime
          Time and and place as 'he may think proper, as nearly central
         place to be as may be   within each of-he respective regiments
         a    ined'      and independent batta ions : that the time and place
         given b         of the rendezvous for the battalions and
                                                                   companies,
         adveriie. shall be appointed by the colonel or commanding
         mcnt,,         officer of tht: regiment', independent battalion, or
                        squadron on difirent days, that -the field and staff
                        officer, may have an opportunity 'of attending the
                         several companies exercised in detail, in order to
                        introduce tniformitv in the manceuvres and dis-
                        cipline: the brigade inspector shall give twenty
                        day notice of the regimental muster and "inspection
                        by advertisements in five of the niost ptiblic places
                        within the limits of evcr, regiment and independent
                        battalion: the Adjutants of the several regiments
                        4nd independent battalions shill advertise and give
                        at least ten days notice of the battalicn and compa-
                        ny mcetiugs, Ly advertisements set up in at least
                        two places within the bounds of each company.
                           Src. 7. And be it encited, That
                                                               every troop of
         Cavalry & horse'or company of civahiy and artillery, shall be
          ,tillerv at- considered as being attachid to the'regiment or in-
        lachd to. 4ependent battalion, within the hounds of which the
        ka tionn.T major           t of the company was raised. .nd .hall
                       'assemble for inspection at such time and place and
                       in such manner as the brigadier-beneral or corn-
                       mantling officer of the brigade sh:!ll order and di-
                      rect. It shall be the duty of the cleiks of the coin-
                      panics of cavalry ,nd artillery to make a return of
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 7 of 33




                       delinquents in'their respective companks, in the
                    -ill
                    same manner as the'clcrks of infantry companies
                    are by law directed.
                       Sic. 8:.And be it enacted, That the fines forF iI66of-     "
                                                                                  e
                   non-attendance    on days  of exerise   shall be as fol-   ficers and
                                                                              privates for
                   lows : on a brigadier-general and on a field-officer, non-attend-
                   the sum of ten dollars per day ; on every other ance         wantand
                                                                                     of for
                   commissioned officer six dollars per day, and on arms &c.
                   every non-commissioned'officer and private one dol-
                   lar per day ; and the sa-aie fines shall be respective-
                   ly paid by, every officer, non-commissioned officer
                   and private, who shall leave the parade or absent
                   himself from his regiment, battalion, squadron,
                   troop or company, withotit leave of the ommand.
                   ing o.Tcer, before the said regiment, battalion,
                   squadron, troop or company shall be discharged;
                   and if any militia man shall appear on parade With-
                   out a musket or firelock, or if any trooper shall
                   appear wtthout his sword orpistols, he shall forfeit
                   and pay fifty cents, and for want of other accoutre-
                   ments, shall forfeit and pa six cents for each and
                   every article so deficient : Provided,That no mili-
                  tia man shall be liable to such fines, who, in the
                  opinion of the battalion court of appeals created by
                  this act may be deemed unable to procure arms or
                  accoutrements or either of them.
                      SEC. 9"And be it enacted, That in order to as-
                  certain thse persons, who, by their absence on days
                                                                          ..
                  of exercise, or for deficiency in arms or equipments, Syfqem        of
                                                                             collection
                  shall be liable to the fines and forfeitures of this act, of fllnet.
                  the clerk of the troop or company shall on every such
                  day, in the presence of the captain or command-
                  ing officer of the troop or company, and by his order,
                  one hour after the .time appointed for the meeting
                  of the troop, company, independent battalion, bat-
                  talion, squadron or regiment, and also after the ex- Clerk to
                  ercise is over, and before the iien are discharged, call        the roll
                                                                             cn d7 of
                  call over the roll of the troop or company, noting exercie &
                 those who are absent ; and atfso those who are de- make je-
                 ficient for vw-at of arns or equipments and of each turn
                                                                     oath.
                                                                           uader
                  ad every article so defici::nt, and within ten days
                 ao," ever,"       '     tL t onpany, the Said clerk
                                          .of
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 8 of 33




                      shall make return thereof to the"brigade-judge-ad.
                      vocate, who or some justice of the peace, shall ad;j,
                     ,minister to him the fbllowing oath:
                            I              clerk of the              company
                               commanded by                     in the
                               brigade of the militia -in the town of
                               do swear (or affirm) that this enrollment
                               contains a return of the names of the said
                              'company between the ages of eighteen and
                               forty-five years made to the best of my in-
                               formation, knowledge an.A belief; and ihose
                               persons whose names are noted absent, did
                               not parade with and answer at the roll calls
                              .of the company on the                   day of
                                               and that the deficiencies in
                               arms and equipments are truly marked op-
                                 osite the name of every delinquent; so
                                  lp me God.
                         And which said return the brigade-judge-advo-
                     cate shall lay before the court of appeals as evidence
                      of the fines incurred by delinquents.
                         Src. 10. And be it enacted, That if tho clerk of
        For neglec any company shall neglect or refuse to perform the
        to be fined, duties required by this act, he shall be fined at the
                      discretion of the court of appeals in any sum not
                      exceeding one hundred dollars, to be recovered b-
                     -the battalion-paymaster, who Mhall prosecute for and
                      pay. the same to the brigade-paymaster.
                         Sr.c. 11. And be it enacted, That the several
         oppeals      companies of infantry, artillery and cavalry, at their
        formed of first meeting in every year, shall elect by ballot, and
        ceprefenta- in case of neglect of such election the commandant
        tires ofs of the company shall appoint some discreet enrolled
        compsniea
        -to hear   ex- private who bears arms and exercises with the com-
        cufes of de- pany, to   be a representative of the company at the
        linqu n&t court of appeals ; which shall be composed of the
        fines incur- said representatives of the several coinpanies in the
        sed.         respective battalions, and who or at least three of
                      them are hereby vested with full power and autho-
                      rity to hear and decide upon the excuses of all per-
                      sons returned as delinquents by the respective
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 9 of 33




                clerks of the companies within the bounds of their
                 battalions for non-attendance at roll call, and for de-
                 ficiency of arms and equipments and to assess and
                 ascertain the fineg incurred by the officers, clerke,
                non-commissioned officers- and privates of the sev-
                eral companies within the bounds of the battalion,
                and-also to allow the compensation which shall be
                made to the company clerks for the performance of
                the duties prescribed in'this act; the members of C'mpenfg-
                said court shall each receive one dollar and fifty0tclerk,ionlof
                                                                                 &5.
                cents per day for their attendance at the' said, court
                of appeals to be paid by the battalion-paymaster on
                the certificate of the brigade-judge-advocate or per-
                son who shall officiate as such at the court of appeals&
                The captain or commanding officer of every com-
                pany shall give to the private elected, or appointed to
                represent said company in the court of appeals, a
                certificate of his election or appointmentgiven under
                his. hand and seal'; and on his producing such cer-
                tificate, the brigade-judge-advocate shall administer
                to him the oath prescribed in the thirteenth section
                of this act. And if any of the members of the said
                coiirt of appeal shall neglect or refuse to attend'at
               the time and place as advertised by the brigade-
               judge-advocate for holding such court of appeals,
               they shall forfeit and, pay the sam of ten dollars, to
               be sued for and recovered with costs of suit before
               any justice of the peace of the county, where such
               offender resides, by the battalion-paymaster, and
               when recovered, to be by him paid to the brigade-
               paymaster : Provided,That such offender may ap-
               peal to the board cf general and field officers es-
               tablished by this act, who, on a reasonablc excuse
               given may remit such fine.
                   SEc. 12. And be-it enacted, That the board of gen- Time Int
               eral and field officers of the several brigades shall ap- place of
               point the days and place of the meeting of the said meeting
                                                                         pomtled ap.
                                                                                  by
               several courts of appeal as nearly central to each bat- general and
               talionasmay be, and within thirty days after the annu- ficid offi-
               al review and inspection of the several regiments and cots.
               independent battalions, and in such manner as the
                brigade-jutdge:-advocate may attend the respective
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 10 of 33




                     batfalion.Courts t of 'appeal ; and the brigade-judge-
                     advocate shall glve notice of the meeting of said bat-
                     talion courts.of appeal to the sevqral clerks of.com
                    panidS within the biigadpeiaidirJ case of the' death,
                     sickneds,-.removal or reifsaIl to act, of any. of the
                    company clerks, ,to thq captain or commanding of,.
                    hcer'of thc company, who shall thereupon imme-
          Clerk to diately appoint a wuitable person to do the duty of
          advertif, company clerk; and which said company cllrks
          court of.,shall thereupon give at least ten days notice by set-
          appeall,  ting ip in three of the most public places in ihe
                    boudi; of the company, -and advertisement which
                    shall as.near as circumstances will admit, be in the
                    following, form to wit;
                          ;Nnice is given to               andho
                             have been returned for non-attetdance on
                             the             days of        , atthe militia
                             roll call of captain       . compiny; in4  he
                             township of         : and tiotice is,also given
                             to.            and           returnedfor defi
         Form a'             cienciesin military equlpments, that the bat,
         notice to           talion court of appeals will meet at ten
         delin.              o'clock on the      day of          at the house
         quent.              of     to'liear, and decide upon the excusesi
                            if any they have, for non performance of
                            military duty and for defciencies inmilitary
                            equipments for which they are severally lia-
                            ble iole fined according to the directions of
                            the militia Law of this state.
                                Dated at          the     day of          is
                                ,.:.      .        Cleik of Raid company.
                         Sout 3...indbe :t enactcd, I hat zthe members
         Court-of    of every court of appeals shall ,'ssemble at the time
                     and place so advertised, and befere' proceeding to
                     business shall take the following oath or affirmation:
                          I        do swear (or 'stern) that I will per-
                             form the duties of a member of this bat-
                            talion court of appeals, according to. the
         Oath.              true intent and meaning of the militia- law of
                            this state, according to the best of my,skill
                            and understanding wvithout favour, affection
                            or partiality: so help me God.
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 11 of 33




                    Which shall be administered by the brigade-
                'judge advocate or, in case of his non attendance by
                 the person who shall be appointed by the said bat-
                 talion court of appeals to officiate in his room, 'and
                 the person so appointed sh-all take the following oath
                 or affirmation to be administered by any member of
                 the said court:
                       I         do swear (or affirm) that I will per-
                         form 'the duties of judge advocate of this Auto ad
                         battalion court of appeals accqrding to the vocate.
                         best of my skill and understanding: so le
                         me God.
                     i'he said battaliofi court of appeals sliall consist
                  of at least three representatives of companies and
                  Ahall appoint one of their members to preside ; they
                  shall have power to administer oaths to witnesses, Their powi
                  and to hear and decide upon the application of the er
                 persons advertised as delinquents and they are hereby
                 required and enjoined to attend to every just com-
                 plaint of excuse, whether of age or arising from Ewifes.
                 persons being unable to procure arms or equipments,
                 from inability of body or insanity of mind.
                    SEc. 14. And be it enacted, That in order, that
                 due respect and decorum may be observed the said
                 battalion court of appeals, shall have power and To prerervo
                 authority and they are hereby authorized to fine any order may
                 flerson not exceeding ten dollarsi who shall misbe-*III -
                 have, insult or disturb the said court in the exercise
                 of their duty o be collected and paid to the battalion
                 paymaster by prosecution before n justice o" the
                 peace, who shall issue execution against the offender
                 upon a certificate of the judge advocate.
                    Stc. 15. Andbe it enacted, That the said brigade No-
                 judge advocate and whoever shall officiate in that rtt   rlortre.
                                                                             to re-
                 capacity shall keep a rcord of the proceedings of verfe their
                 the several battalion courts of appeal, from whose proccet"
                 decision, no appeal shall be had, nor any certiorari irig,.
                 allowed to reverse their proceedings. Each brigade
                 judge advocate shall deliver over to his successor
                  the records and all the proceedings of the battalion
                  courts of appeal in the brigade.
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 12 of 33




                                               54-6

                          Sc. 16. A4nd be it enacted, That all fines and,'
                       forfeitures which shall be incurred and assessed by
                       the said court of appeals on persons made liable by
           Fies to this act, shall be returned and paid into the hands
            alion pay- of the paymaster of the battalion from 'hich. such
           nafler,     fines and forfeitures may be due. Thatthe brigade
           who h to judge-advocate (or person whio shall have officiated
           g's,        in that capacity) shall withil! ttn days after every
                       battalion court of appeals, transmit a certified copy
                       of the nams of the persons filed by the said batta-
                       lion court of appeals, with the amount of fines, to
                       the brigide paymaster, who shall charge the batta-
                       lion with the amount thereof ; and also a fair certi-
                       fied copy to the battalion paymaster, who shall im-
                       nediately upon the reception thereof, set up an ad-
                       vertisment in at least one of the most public places
                       within the bounds of etich company of th battaion,,
           not!cc:to   as follows
           pty n          Notice is hereby given, tfiat the court of appeals
           days.             of the        battalion, commanded by Major-
                                        , nave decided that fines have bcun
                             incurred agreeably to law for neglect of militia
                             duty and equimcnts by the several persons and
                             of the-several sums opposite the respective
                             names following, to wit               Dolls. Cts.
                                      A.1.                               -
                                      C.D.                             -

                             And if the said sums shall not be paid to the
                             subscriber, paymaster of the said battalion, in
                             twenty days from the date hereof, execution
                             will be issued against those persons who shall
                             neglect to make payment conformably to the
                             militia law of New-Jersey.
                                Dated the          day of           18
                                                 Paymaster of'said battalion.
                           SEC. 17, And be it enacted, That the battalion
                        paymaster shall, on the list of delinquents returned
                        to him by the judge-advocate opposite the names of
                        those perscns who sh"ll discharge their fines, write
           execution          P                     '
           to ifrue and " paid and discharged ;" and immediately after the
           ictinned to expiration of the said twenty days, the sad battalion
                        paymaster shall deliver the said return list of delin-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 13 of 33




                     Vjuents, of fines assessed by the said battalion court battalionr
                   .of appeals, to a justicc of the peace, who is requiredI paymaie
                     forthwith to issue execution against the persons days   inthirty i
                                                                                  and,
                     named in, the said return list, (opposite whoie names no goods
                   'shall not be written as aforesaid "paid and dischar- to commit
                     ged, ) for the sums annexed to their respective dehn- :
                    names, with costs, as in cases of taxation, directed quents to
                    to one of the constables rsiding within the bounds
                    ,of the battalion, and' if there be no constable within
                    such bounds, then, to any constable of the county ;
                    who is required to levy the same of the goods and'
                    chattels of the respective delinquents, and to pay
                    the several sums contained in. the said execution
                    within thirty days to the said battaliol,, paymaster,
                    to whom the said delinquents belong : and flr want
                    of goods and chattels, to take the bodies of the de-
                    linquents, and commit to the gaol of the county
                    there to be kept 'until the fines and costs shall he
                    paid. Providedneverthel.es, that the board of gen-
                    eral and field -officers of the brigade, or any three of How ve.
                    them, the commanding officer of the regiment, bat- leafed.-
                    talion or squadron to which he belongs being one,
                    upon being satisfied'by the oath or affirmation of
                    .the delinquent committed to gaol, or otherwise, that
                    the delinquent so committed, is unable to pay, may
                    ,grant a supersedeas to release and discharge such
                   .poor person from confinement. The form of the
                    ,execution shall asnear as-may be, be as follows
                                     ,County.
                              THE STATE OF NEW-JERSEY,
                           To       one of the Constables of saidcounty of    orm of
                        'Whereas the persons named in the schedule or execution.
                           list hereto annexed, have by the court of ap-
                           peals of their proper battalion, been duly sen-
                           tenced for delinquency in military duty and e-
                           quipments, to pay the fines to their names re-
                           spectively subjoined. You are therefore com-
                           manded forthwith, of their several goods and
                          ,chattels respectively within said county, to levy
                          I)v distress and sale thereof, the fines set oppo-
                          '.nte their respective names with costs, ansi,to
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 14 of 33




                         xtay the same to                      paymaster of
                                   battalion, and for want of goods and
                          ehattels, you are commanded to take the bod-
                          ies of the persons so deficient and commit them
                          to the common gaol of said county, and the
                          keeper thereof is hereby commanded to receive
                          and safely keep the persons who. 'shall be so
                          committed, until they shall pay the same, or
                          until discharged- by order of the board of gen-
                          eral and field officers, or otherwise by duo
                          course of law : and you are to make return of
                           this execution, with your doings therein, unto
                           the said battalion paymaster, within thirty days
                           next coming, for which this shall be your sufli-
                           cient warrant. Hereof fail not. Given under
                           my hand and seal the             day of          in
                           the year of our Loid eighteen hundred and
                                                     -ousticeof the Peace.
                        Sre. 18. And be it enacted, That the battalion
         paymafter paymasters shall keep journals of all their proceed-
         to kecr,ags,       in the execution of the duties enjoined on them
         record, an as battalion paymaster~s. They shall record in a
         accounts to
         bt fettled book to be kept for that purpose, the amount of fines
         by the      by them received, of whom and in what manner re-
         board.      ceived, whether by voluntary payment or of the
                     constables, of the fines not collected or recovered
                     and the reason thereof, of monies paid, to whom
                     and on whose order and for what purpose, and shall
                     lay the same, with their vouchers and receipts, before
                     the board of general and field officers, or a commit.
                     tee of said board for inspection and settlement.
                        Szc. 19. And be it enacted, That the generaland
                     fieldofficers of their respective brigades, shall appoint
                     oio reputable freeholder within their brigadi, to act
          Paymafters as brigade paymaster to the same, and that the ma-
          how ap- jor or commanding olticer of each battalion of infan-
         pointed :   try within this state, in conjunction with tbe captains
                     of the several companies of their respective battal-
                     ions and of th captains of artillery and cavalry,
                     w ithin the bounds of their respective battalions, shall
                     jppo3int one reputablc freeholder within the balttalion,
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 15 of 33




                 to act as battalion paymaster to the sime, for the
                 collection and payment of fines ; which said bri-
                 gade and battalion paymasters, before entering upon
                 the duties of their officc shall severally give bond to givO
                 with sufficient sureties, to be approved of, that of the bond,
                 brigade paymaster by the commandant of the bri-
                 gade, and the bond of the battalion paymaster by
                 the commandant of the regiment or independent
                 battalion, the brigade paymaster in the sum of one-
                 thousand dollars, the battalion paymaster in the sum
                .of two hundred dollars, payable to the state of New-
                 Jersey, with condition for the faithful performance
                 of the duties of their respective offices, and shall re-
                 pair to the clerk of the county in which they reside,
                 and subscribe and take the following oath or affirm- and take
                ation :                                                   oath
                   I             appointed paymaster of the
                       brigade (or battalion as the case may be) of
                       militia, do swear (or affirm) that I will to the
                       utmost of my knowledge and ability, honestly
                       and faithfully perforin the duties of the office
                       of paymaster of the said                 brigade
                       (or battalion) and that I will not on any pre-
                       tence. or occasion, apply any money, which
                       shall come to my hands as paymaster thereof,
                       to any private use or purpose : so help me God. before ,n,
                    Which oath (or affirmation) the said clerk shall to be filed
                 administer and endorse on the said bond and file the with the
                 same in his office to be prosecuted whenever tie cltZ.
                 board of general and field officers shall direct. The
                 said clerk shall give a certificate of the said bond
                 and oath (or affirmation) having been taken and
                 filed under the seal of the county, on the back of
                 their warrants of appointment, which shall be taken
                 and received as evidence of the authority of the said
                 paymasters.
                     SEC. 20. And be it enacted, That the brigade
                 paymaster shall receive and file Al vouchers and Brigade
                 returns, and kee l) proper and li&tinIct accounts of payinaftem'a
                 the monies arising from the lines and forfeitures in dutY.
                 tli. several rcgim'tns and battali2 's in ti brigadQ
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 16 of 33




       to account which.shall         be paid and returned to him, and also
       totheboar4 shall 'receive and file all returns, orders, vouchers
       afgeneral and receipts, for all monies he may receive and pay
       &field offi-           ,   •
       cers, & pay out, conformably        to the directions of this law, and
        balanci to submit .his books of accounts, returns, orders,
        treafurer vouchers and receipts, to the inspection and ex-
                   amination of the said general and field officers of
                   the brigade 'who are hereby constituted a board,
                   vested with full power' and authority to examine,
                   adjust and' settle as' well- 'the accounts, of the said'
                   brigade-paymaster, as of the several battalion-pay-
                   masters in the brigade; anid ascertain and declare
                   the balance unappropriated in his hands, and which
                   the said brigade-paymaster shall pay forward to the
                   treasurer of this state; 1 The said balance to be cer-
                   tified to thditreasurer by the brigade judge-advocate,.
                   who shall be e-k-officio, clerk of the said board, and
                   with which sum o certified, the said treasurer shall
                   charge the several brigades ; and in case of mal-
                   practice, embezzlement or default, the said board of
       difplaced general and field officers, are required to displace
       for ral-    the said brigade-paymaster and' appoint another in
       practice &
       profcc.ted. his room, which successor in office, is hereby au-
                   thorized'and empowered ii the name of- the state
                   of New-Jerseyi, to proi&dute the defaulter, his ex-
                      ecutors -or administratbrs for'tiny sum or sums of
                      money remaining in his hands belonging to the bri-
                   gade, in any courtwhere the same may be cogniza-
      Battalion    ble, with costs of suit ; and in case'of mal-practice
      pay-mifters  embezzlement or neglect of duty 'of the battalion
      to account
      in like man- paymasters, the said board of generil ahd field offi-
      nor, &c- cers,' are requir~ed to displace suchbattalion pay-
                   master, and the brigade paymaster for the time being
                   shall in like mainer prosecute the said battalion
                   paymasters, their executors or administrators, as
                   well for the monies had, received, andI collected as
                   for such fines as they shall have incirred for neg-
                   lect of duty.
                      &7.c. 21. And be it enacted, That the board of
                   general and field oflic.rs of the several brigades shall
                   wake such aUowaucc and compcnsation to the bri,-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 17 of 33



                                             5s I
                     ade paymaster, brigade judge-advocate and those conpenfa.
                     who shall act in the capacity of judge-advocate, and tion to pay
                     to the battalion paymasters, and to the teachers of "'t"'
                                                                            judgendvo.
                     music, and for music of their respec.ive brigades, as cote nd
                    they may deem just and reasonable, to he paid out muic
                    of the fines of delinquents, by the brigade paymast-
                    er. And in case there shall be no money arising
                    from such fines in the hands of the brigade paymasi
                   ter, the said board of general ,and field officers shall
                   draw their order on the treasurer of the state for ai
                   ny such deficiencies, and the said treasurer is here-
                   by authorized to pay such orders out of any money
                   which may have been paid by the brigade paymast-
                   ers into the treasury : Provilded nevertheless, that the
                   whole allowances to he made by the board of gene-
                   ral and field officers in one brigade, for the term of
                   one year, shall not exceed one hundred dollars for
                   each regiment in the same.
                    . Src. 22. And be it enacted,That the commander
                   in chief and major-generals of this state, or any three Command-
                   of them, the commander in chief always to be one, er in chief
                   shall compose a hoard of general officers, whose du- and major
                   ty it shall be to lay before the legislature every year generals
                                                                            compofe a
                   at their annual meeting, the particular objects for board;
                   which they conceive military appropriationA arc, or
                   in the'course of the ensuing yew may become neces-
                       r; and the sum appropriated by law shall be sub-
                  ject to the orders of said board tobe applied by them
                   as the law may direct. The adjutant-general shall
                   be secretary of said board of general officers, and their dut7
                   shall keep a journal of all their proceedings and or-
                   ders, subject to the inspection and examination of
                  the Legislature ox the first Tuesday of November
                   in every y'ear.
                       Sc. 23. And be it enacted,That the commander Quarter
                  in chief be and is empowered to appoint a suitable malter gen
                  person to the office of quarter-niaster-general, who eral;
                  shall perform the duties incident to that department,
                  and shall receive compensation thercfor ,ipon ex-
                  hibiting his accounts properly certified and allowed
                  by the board of general ofllicer5 : He s:lHl have the
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 18 of 33




        bb rnki" rank of lieutenant-colonel, and be commissioned ae-
                       cordingly.
                         Sec. 24. And be it enacted, That if any money
          Overpus shall remain in the hands of anv constable, after ma-
         of delin     king sale of the property of a delinquent, and paying
         quenta no- the fines and costs of such delinquent, such money
         ney.         Bhall be paid by the said constable to the said delin-
                      tquent ; but if he shall refuse to receive the same,
                        en the constable shall pay the said money to the
                      paymaster of the battalion to which such delinquent
                      belongs, to and for the uise ofsuchdelinquent.
         Fins of         SEc. 25. And be it enacted, That the fines and
        minors & forfeitures imposed by this act on minors living with
         apprenti, their parents, and others having the proper care
                      charge of them, and those of apprendces,.          or
                                                                   shall be
                     paid by their respective parents,.guardians, masters
                     or mistresses, or levied of their respective goods
                     and chattels.
                        SEc. 26. And be it enacted, That every person li-
        Whodeem. able by this act to do military duty, shall be deemed-
        ea enrall. and adjudged to have notice of his being enrolled
                     in the comp.iy of militiawithin the bounds of which
                     he shall resie.
                        SEc. 27. And be it enacted, That it shall be the
                     duty of the adjutant-general to distribute all orders
                    from the commander in chief of the state to the sev-
       Duty ofad. eral corps ; to attend at public reviews, if required,
       Jutant gen- when the commander in chief of the state shall re-
       eral. view the militia or any part thereof;
                                                               to obey all
                    orders from him'relative to carrying into execution
                    and perfecting -he system of military discipline es-
                    tablished by thic act; to furnish blank forms of dif-
                    ferent returns that may be directed by the com-
                    mander in chief, and to explain the principles on
                    which they. shall be made; to demand and receive
                   from the several officers of the different corps
                   throughout the state, returns of the militia under
                   their command, reporting the actual situation of
                   their arms, accoutrements and ammunition, their
                   delinquencies and every other thing which relates
                   to the general advancement of good order and disci-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 19 of 33




                  pline ; all which the several'officers of the divisions,
                   brigades, regiments ahd. battalions; are hereby re-
                   quired to make in tl~e manner herein directed; that
                   the sitid adjutant-general may. be duly fkrnished
                   therewith previous to the annual meeting of-the le-
                   gislature; from all which retuins he shall make
                  proper abtracts and lay the same with a report of
                  the general state of the militia magaines and mili-
                  taty stores, and also of such improvements as he
                  may think necessarry to advance the discipline and
                  benefit of the militia before the commander in chief
                  of the state, who is required to lay the same before
                  the  legislature. And the adjutant-general shall also
                  annually   make a return of all the militia of the stat,.
                  to the president of the United States. And it shall
                  be the further and especial duty of the said adju-
                  tant-general to give information against and prose-
                  cute in behalf of the state, all brigadier gencrals who
                  shall fail or neglect to review the several regiments
                  and independent battalions in their respective brig
                  ades, agreeably to the directions of this act. He
                  shall keep a book in which shall be rorded all
                  orders, returns, names of commissioned officers
                 throughout the state, and every proceeding relative
                 to the details of the military. force ordered by the
                 commander in chief, upon requisitihus of the presi-
                 dent or congress of the United States, and in eases
                 of invasion or other emergency. All certificates Of Certifiesto
                 election of officers shall be transmitt6d to him to be'f   OFlection
                 entered of record, before commissioned by the corn- to bc trar.,
                 rnander in chief. He shall deliver over to his suqces- mitred to.
                 sor all books and returns belonging to the office of ad- him.
                 jUtant-general. He shall be secretary to the board
                 of general officers. The expense of blank returns
                 andthe postage of letters in his official capiteity shall
                 be settled and allowed by the board of general offi-
                 cers, and which with an annual salary of fifty dol-
                 lars, shall be paid by the treasurer of the state, on'
                 a warrant of said board, certifying he has performed'
                 the services required of him as adjutant generaL,
                                             D
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 20 of 33




          D of
          Duty          Sc. 28. And be it enacted, That it shaill1i tie
          brigade in.'duty of the brigade inspector, to attend the regimen-
          fpctor;     al'and iideendent battalion meetings of the mili-k
                     tia composing iliei- several brigades, duing the
                     iime of their being uncder arms, to inspect their
                     arms, anmunition and accoutrenients , to make re-
                     turns annually to the* adjuiant general of the state,
                        of the mnlitia of the brigadi to which he belongs,
                        reporting therein particularly the name of the re-
                        viewing officer, of the actual situation of the arms,
                        accouttementv and ammunition of the several corps,
                        and every ciher thing which in his judgrndnt, may
                        relate to thiir go ernment and the general advance-
                        ment of good order and military dicipline. The
                        said brigade inspector shall be entitled to receive
                        thirty dollars, annually for his services ; and for re-
                        fusing or ileglecting.i-he duties enjoined by this law,
                        he shall be subject to the penalty of fifty dollars, to
                        be recovered by the ,reasuf er of the state, Who shalt
                        also withhold his said salary of thirty dollais, until he
          isIperfoan iSshall
                      o       have produced the acknowledgement of the ad-
          act in W,jutant-peneral that he has received said return. In
          abfence.      case oF thl' absence of the brigade inspector, the
                        commanding ifficer, present at the inspectioti, shall
                        appoint some person to perform the duties thereof.
                          S.c. 29. Andbe it enacted, That every captain,
           Election of lieutenant or ensign and cornet, who shall from time
          officers by to time, be chosen by the seeral companies or troops
          warrant      sha report his acceptance of the office, within ten
          from brighi
          sdier gen- days after havig received notice thereof, to the
            tal to thi major oi" commanding officer of the battalion ; and
          major, who in case such reportis not made as aforesaid, the said
           fhallertfy       l      bA
          and fend to ice shallbe deemed as' vacant. And theresigna-
          Iheadjuant tion of every caltain, liedtenant, ensign and cornet,
          genera!,     shall be delivered to the brigadier general or com-
          -.who(hall h
               oranfmnitmanding officer of the brigade in .which the said
          the cam. compafny or, troop is formed ; and where vacancies
          inifflon     shall happen in any company or troop, by the death,
          the brga- removal or resignation of a captainlieutenant en-
          dier gene.r.
          ral.         sign or cornet, it shall be lawful for the command-
                     ing 6 fficcr of the brigade, by wairant under his hand
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 21 of 33




                                        555S

                 and seal, directed to the major or commanding of-
                   ficer of the battalion or squadron to which such
                .company or troop belongs, to hold an election withip
                 the limits of such company or troo), to supply the
                 vacancy occasioned by the non acceptance, resigna-
                ,tion,'removal, death,,or otlherwise,.of any such of.-
                -ficer; and thereupoti the said major or commanding
                ,officer of the said battalion or .squadron ',shall piv6
                 tell days notice, by advertisement 'in three of'the
                 most public places within the limits of s'ich com-
                ,pany,of an election to supply the place of the officer
                ,orofficers of the company or troop which may be
                 vacant ; and the said company or troop, orsuch of
                ,them as may attend, shall proceed by plurality of
                 votes, to choose such officer or officers residing with-
                 in the bounds of the said company or troop ; and
                •ihe said major -or commanding officer of the said
                 battalion or squaidron',shall -certify, under his hand
                 and seal, annexed to or endoised on the warrant
                 aforesaid, -the name and rank of each'.officer so
                 chosen or elected, addressed to the commander in
                 ,hief of the state, and shall transmit the same to the
                 adjutant general, who after entering the nanios and
                 -ank of the persons so" elected in 'the books of his
                 office, shall lay the same before the commander in
                 chief t6 be commissioned, andt t~ereupon the adju-
                 tant-general shall transmit all' co'mmissions to the
                 brigadier-general, or officer who issued the warrant
                 of election. The sum of two dollars shall be paid
                 by the battalion paymasters to the commandant of
                 the battalion -fdr advertising and holding every dec-
                 tion. No 'candidate or any other person shall give
                 any spirituous liquors or treat:to anyoficers or pri-
                 vates, on .any day of election 6f officers, under the
                 penalty of twenty dollars, to 'be prosecuted for and
                 recovered by the battalion paymaster, and by him
                 paid to the brigade-paymaster.
                      SEc. 30. And be it enacted, That if any commis. Removal
                 sioned officer shall remove out of the bounds of his officCS3
                 proper division, brigade, regiment, battalion, squad-
                 :rUn troop or company, or shiall be absent therefrom,
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 22 of 33




                      .nqrc than six months, his office' shall be thereby
                       vacated.
                          bSEC, 31. And be it enacted, That the uniform to
           Officers
          Imult     1 be worn by the several officers of the militia of this
                 uni-

          form in state, shall be conformable to the general orders
          three        printed and attached to this law ; and it shall be the
          Months. duty of every officer within three months after re-
                      lcehi~ng his commission, to appear upon all training
                       days, in full and complete uniform, agreeably to
                       general orders, and also either with a sword, hanger
                      ,or espontoon: and if any officer shall come upon
                       parade for exercise, not being so equipped, he shall
                      -incur the same fine as is directed by this act for
                      .non-appearance, and also shall not be suffered to do
                       duty on that day.
                         'Sr.c. 32. And be it enacted, That one drum and
          be , ftrto one fife-maijor and one trumpeter, may be employed
         ca.           by the board of general and field officers of each
                       brigade to instruct and exercise the drummers, fifers
                       and trumpetes of each company or troop in the ne-
                       cessary military music, at such 'times and under such
                       regulptions as the said board may direct, not ex-
                       ceedilig twelve days in the year, and shall for such
                      services be paid the sum of tvo.d6llars per day each ;
                      and the said drummers, fifers and trumpeters shall
                      each be paid seventy-five cents per day for the time
                      thoy shall attead to such instruction.
                       . Sac. 33. And be it enacted, That if any youth
         1?2tber ex- of thI    age of twelve years and not exceeding the,
         le rns mu- age of eighteen years, shall, with the consent and
          6c.         approbation of his parents, attachhimself to any
                      company of militia for the purpose of learning to
                      beat the drum, play on the fife or blow the trum-
                      pet, provided the number shall not exceed one per-
                      son for the drum wnd one for the fife in each com-
                      pany, and one for the trumpet in each troop of horse,
                      every such person or persons shall be put under the
                      instructions of the drum or fife-major, or trumpeter
                      as the case mnay be, whose duty it shall be to teach
                      such persop or persons to perform field duty, to
                      the satisfaction of the commanding officer of the bri-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 23 of 33




                  gade; and the father of every youth who Shall
                  have been instructed as afoesaid, shall be excused
                  from every kind of military duty, so long as his son
                  shall continue to perform the duties of a drummer,
                  fifer or trumpeter in any militia company or troop,
                  and be under the age of eighteen years.
                    SEC. 34. Andbe it enacted, That it shall and may be
                 lawful for the captains or commanding officers of the Attillery,
                 several companies of cavalry, artillery, light infantry cavalry and
                 and grenadiers, to enroll in their respective companies light in.
                 from Ie several companies composing the regiment fantry ca.
                 or battalion to which they may belong,such men asmay the i.
                 from time to time be necessary to complete their res- form.
                 pective companies; and a certificate-from the said cap-
                 tain or co'nmanding officer, shall exonerate the bearer
                 from serving or paying any fine thereafter imposed
                 on him by the officers of the company to which he
                 formerly belonged, any law, usage or custom to the
                 contrary notwthstanding: Providedalways, That
                 it shall not be lawful for the captain or commanding
                 officer of the cavalry, artillery or other uniform corn-
                 pany, to grant a certificate to any person prior to
                 his appearing in uniform agreeably to law.
                     SEc. 35.-nd be itenacted, Tlat no officer or pri- Toll free
                 vote shall on the way to or from the place of any re- on    training
                                                                          days.
                 view, regimental or company training to which he
                 shall belong, pay more than one third of the usual
                 rate of ferriage, or be charged any toll for passing
                 any toll-bridge or turnpike gate ; and if any ferry.
                 man or keeper of any toll-bridge or turnpike-gate,
                 shall refuse a passage, or make a demand contrary
                 to the directions of this act, he shall for each offence
                 forfeit and pay the sum of eight dollars, to be recov-
                 ered by any person who will sue for the same, one
                 half to the prosecutor and the other half to the pay-
                 roaster, for the use of the battali6n where such de-
                 mand or refusal is made, any law, usage or custom
                 to the contrary notwithstanding.
                   SEC. 36. And be it eipeted, That no commission- Free from
                 ed officer, non-commissioned officer or private shall arrefl.
                 be arrested on any civil process on any day appoint-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 24 of 33




                                              558

                ed by law for exercise or traininig or. shall ny
                arms or accoutrements of a militia-man'be levied on
        My eor     sold by virtue of any execution.
        M plead    SEc. 37. And be it enacted, That if any suit shall
        hi act. be brought or Commenced against any person, for
                     any thin'g done in pursuance of this act, the venue
                     shall be laid in the county where the cause of action
                     arose ; and the defendant in svch action may plead
                     the general issue, and give this act and the special
                     matter in' evidence.
        Militia         Src. 38. Andbe it ezacted, That the comr.inder
        when or- ih chief of this state, for the time being, may, in case
          deredout, of invasion or other emergency, when he shall judge
                    it necessary, order out any proportion of the militia
                    of this state, to march to any part thereof, and con-
                    tinue as long as he may think it necessary, not ex-
                    ceeding two months.
       into aaual       Sac. 39. And be it enacted, That when a part of
        t-rvice,    the militia shall be called into actual service, it shall
                    be the duty of the captain or commanding officer to
                    divide his troop or company into as many classes as
                    there shall be men required of him, and by lot, en-"
                    listment or draft, to detach one man from each classt
                    and such draft or detachment shall be officered with
       tour by      such officer or officers, and of such grades as shall
       roafter; be proper, agreeably to military discipline ; the tour
                   of duty of which commissioned officers, shall be de-
                   termined by a roaster to be kept by the adjutant for
                   that purpose: Andfirther, That no non-commis-
                   sioned officer or private shall, (after the making of
       drafts      the first draft) be liable to perform actual service,
                   until it shall become his proper tour agreeably to a
                   roaster of the company, to be kept by the command-
                   ing officer of the same; and that no draft or detach-
                   ment shall be continued in service, more than two
                   months at any one time, and if necessary, they shall
       relieved in be relieved'by a detachment to be made in the
       two
       months,     manner aforesaid ; which relief shall arrive at least
                   two days before the expiration of the term of the
                   detachipent to be relieved ; hut nothing hercin con-
                   taincd shall prevent the commander iii chief from
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 25 of 33



                                        . 659

                calling into service the whole or any part of the mi-
                litia, when the exigencies of the state, shall in his
                opinion require it: Andfurther, That the pay of the
                militia in actual service, shall commence two days 'Nn'
                                                                     and
                before marching, and that they shall receive pay
                rations at the rate of fifteen miles per day, on their
                return home ; and in requisitions by the President R        .
                or Congress of the United States, the like mode Lion.
                shall be pursued in drafting and turning out the quo-
                ta of this state.
                    Src. 40. And be it enacted, That it shall and may Sub Ritutes.
                be lawful for an), person called to do a tour of
                duty, to find a substitute, who if approved of by the
                captain or commanding officer of the company, may
                serve in the place of such person.
                    SME. 41. And be it enacted, That when any draft
                or drafts of the militia shall be called to peform Drafttobe
                any tour of duty, the majors of the battalions shall noticed
                cause each and every person so called, to be notifi-
                cd of such call, by a written or printed notice being
                delivered to him personally, or left at his house or
                usual place of abode, by some officer or other suit-
                able person employed fbr that purpose by the corn- to attend,
                manding officer of the said company, at least three
                days before the time of assembling said. militia, un- procure
                less the commander in chief, on a sudden exigency, fubftitutes,'
                shall think proper to order any part of the militia in-
                to immediate and actual service, and then the no-
                 tice mentionlng, such special order, shall be given
                 for immediate attendance ; and any person refusing
                 or neglecting to perform such tour of duty, or to
                 procure a substitute, shall pay a fine not exceeding or fined.
                 fifty dollars, for every such nrglect or refusal ; which
                 fines as aforesaid shall be paid to the captain'or com-
                 manding officer of the company to which such delin-'
                 quent belongs, and be by him appropriated, under the
                 direction of the commandant of the battalion to which
                 the said company belongs, for the purpose of hiring
                 substitutes to supply the place of the delinquents
                 belonging to the said company ; and in case of a
                  surplusage of money arising from such fines, it shall
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 26 of 33




                   be paid to the paymaster of the battalion. And.
                   eVery ,,on-commissioned 'officer, whilst engaged in
                  wiarning the coawany to which he belongs, under
                  the orders of'the commanding officer of the cm-,
                    any, shall receive one dollar per day, for, the time
                    e may be necessarily engaged in such duty.
                     Sec. 42. And be it enacted, That the brigade-in-
                  spector shall call to his assistance two reputable free-
         orfe, i- holders, above forty-five years of age, who shall ap-
       praifed,   praise on oath or affirmation, the horse of each per-
                  son serving as a light-horse-man, immediately be-
                  fore the time of going into actua! service, and des-
                  cribe the age, size, colour and marks of the said
                  horse, and enter the same in a book kept for that
                  purpose ; and in case such horse shall be killed or
                  be taken by the enemy, the owner of such horse or
                  his lawful representative, shall be paid the full value
                  of said horse according to the said appraisement,
                  by an order to be drawn on the certificate of the
                  inspector, by the brigadier-general or commanding
                  officer of the brigade, on the treasurer of this state,
                  provided such claim be made in one year after the
                  loss so sustained.
                      Sc. 43. And be it enacted, That the quarter-
       Rationsaor master who shall furnish rations or ammunition for
       detach.
       ments.     detachments of militia which may be ordered into
                  the service of this state, shall lay his account there-
                  for, accompanied with the receipts of the officer
                  commanding such detachment, that such ammuni-
                  tion and rations have been furnished, before the
                  commanding officer of the regiment or independent
                  battalion, for his approbation; and if he shall ap-
                  prove and sign the same, the governor, if he also
                  approve thereof, snall issue his warrant on the treas-
                  urer, to be paid out of any money in the treasury
                  not otherwise appropriated.
      Carrying       SEc. 44.. And be it enacted, That the command-
      orders paid ing officer of divisions, brigades, regiments and bat-
      for,        talions ; the adjutant-genera, brigade-inspector and
                  adjutants, shall be entitled to a person to carry their
                  ordero, when the necessity of the case shall require
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 27 of 33




                  it ; for which a reasonable compensation shall be -l-
                  lowed by the board of general officers.
                      SEC. 45. And be it enacted, That the commander
                  in chief ehall appoint general courts martial for the Coult
                  trial of all officers above the rank of field clicers ;
                  that the major-generals each. in his own divisioni poinrd.
                  shall appoint general courts martial for the trial of
                  all field cfficcrs ; that the brigadier-general., each
                  in his.own brigade, shall appoint general courts-
                  martial for the trial of captains and all commission-
                  ed cflicers under that rank ; and that the comman-
                  dants of regiments, and independent battalions, shall
                  institute regimental courts-martial within their res-
                  pective regiments and independ, at battalions, a.i
                  often as it shall be found necessary ; and that it
                  shall be the duty of every officer who shall appoint
                  a court-martial as*aforesaid, to approve or disap-
                  prove of the sentence or Sentences of such courts-
                  martial by them appointed, or to mitigate the pun-
                  ishment or pardon the person convicted.
                     Svc. 46. And be it cmactcd, That any otrter to be           V.
                  tried by a court-martial, shall have fiftecn day no-           to
                  ticc of the time and place appointed fbr trial, and a have 15
                  copy of the charges exhibited against him, and, shall lYia   notict
                  be put under arrest, so far a!;  to be susp ,..ded-from trial,
                  the exercise of his office ; and in case an), officer for
                  the trial of whom a court-martial shall be appointed,
                  shall neglect to appear and make defence, the court
                  shall be authorized to proceed in his absence, andI if
                  found guilty of the charges shall be sentenced ac-
                  cordingly.
                     SEC. 47. And be it cnacted, That all pvrons shall Wilnere'9
                  he holden bound to appear and give evidcnce before [Ame penal-
                  ani, court martial, or court of appeals, on oath or ties   as by
                  aflirmation to be administered by said courts, that law.
                  tfhe evidence tley shall give in the cause in hearing
                  shall be the truth, the whole truth, and nothing but
                  the truth, under the same penalties as are by law-
                  provided for witnesses in other cases, when thereto
                  summoned by the brigade judge-advocate, or by
                  anyjustice of the peace, v;ho is hereby authorized
                                             F
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 28 of 33




                  and enjoined, 'when called upon, to summon such'
                  wcitneses in the. county to which he shall belongi
                  and for which no fee shall be required.
         Memters      Spa. 48.' And be it enacted, That every regimen-
          ofthe,. titl
         owt      all court-martialkshall be composed
                       commissioned officers,          of five membersi
                                                the president   whereof
                      shall not be under the rank of a captain; that general
                      courts-martial shall consist of thirteen commission-
                      ed dlicers, not under the rank of a captain; the
                      senior officer shall be president, not less than two
                      thirds of the ffiembers must agree in every sentence
                      for inflicting any punishment, otherwise the ptrson
                      charged shall be acquitted. That before the trial
                      of any cause;,the judge advocate shall administer to
                       the president and each of the members the following
                      oath. or affirmation, to wit:
         tlaeir oath,     You,           do swear (or affirm) that you will
                            well and truly try and determine according to
                            evidence the cause now before you between
                            the state of New-Jdrsey, and the person (if
                            more than one persons) to-be tried ; and you
                            further swear that you will' not divulge the
                            sentence of this court-martial until it shall be
                            approved or disapproved of, and thac you
                            will not on any account, at any time whateer,
                            discover the vote or opinion of any member of
                            the court, unless required to giV~e evidence
                            thereof as. a witness, by a court of justice, in,
                            a due course of law: so help you God.
                          And the president shall administer to the judgez:
                       advocate the following oath. or affirmation to wit:
                          You            do swear (or affirm) that ,you Nill,
                            not on any account, at any tithe whatever, di-
                            vulge the .vote or opinion, of any particiilar*
                            member of this court-martial, unless required-
                            to give evidence thereof as a witness, by a
          6fjudge           court of justice, in aduc course of law, and,
         advocate,          thalt you will not disclose the sentence of this
                            court martial, until it shall have been approved
                            or disapproved of, by the officer who appointed'
                            the same : so help you God.
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 29 of 33




                    Sec.. 49. And be it enacted, That if any commils-. Fints fi.
                u%ioned officer, at any review, or on any other occa- z;nfbiha
                Sion, when paraded in arms or on duty, shall mis- iOr of L-
                                                                   man-C
                behave or demean himself in'an unofficer-like
                ner, he shall, for such offence be cashiered or pun-
                ijhed by fine, at tle discretion of a general court-
                martial, as the case miay require, in any sum not
                exceeding fifty dollars,; and if any-nbn-cominission-
                ea o.ficer or private, shall, 'on any occasion, of pa-.
                rading the company-to which he belongs, appear
                drunk, or shall disobey orders, or use any reproach-
                fiu or abusive language to his cflicers or any of
                tlhcm, or shall quarrel himself, or pronotc any quar-
                rel among his fellow:soldiers, lie shall be disarmed
                and put under guard, by order of the commanding
                ofdicer present, until the company is dismissed, and
                shall be fined at the discretion of a regimental court
                martial, in any sum not exceeding eight dollars.
                   Sec. 50. And be it enacted, That if tie corn- Negleft of
                mandix g officer of any regiment, battalion or sqld- 4uty.
                ron, shall neglect or xcfu'se to give orders for assem-
                bling his regiment, battalion of squadron, at the tihic
                appointed by the commandant of the brigade to
                which he belongs, or in case of an invasion of the
                city or county to -which such regiment, battalion or
                squadron belongs, he shall be cashiered and punish-
                ed by fine not exceeding one hundred dollars, at the
                discretion of a general court-martial ; and ifa com-
                missioned officer of any company or troop, shall o
                any occasion, neglect or refuse to give orders for as-
                seinbling the company to which he belongs, or any
                part thereof, at the direction of the comm.anding of-
                cer of the regiment battalion or squadion; to which
                such company or troop belongs, he shall be cashiered
                or punshed by fine not exceeding one hundred dol-
                lars, at the discretion of a regimental court-martial;
                and a non-commissioned officer ofrending in such case
                •hall be fined at the discretion of a regimental court
                rnxtial, in any sum not exceeding thirty dollars,
                   SEC. 51. And be it enacted, That if any captain
                or communding officer of i conipm.y or trooj, shall
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 30 of 33




             rfring to refuse or neglect to make out a list of the persorts
           mAC out     noticed to perform ati' tour of duty,"and Sen! or
                       convey the sathe to the commanding officei- of the
                       regiment battalion or squadron, to which such coni-
                       pany or troopj may belong; fot such neglect-or refu-
                       sal he shall be cashiered*or fined 'atthe discretion'
                       of a'regimental court-martial" in 'troy 6ura not eI-
                       ceding one hundred dollars.                           -
           Dcfcrtion. "15c. 52. And be it enacted, That ifany militia
                       man shall desert while he is on 'a totir of du~v,: he
                       shall he fined in aihy suu not cxcceding one" hun-
                       dred dollars for every such offence, or may 'be iiii-
                          risoned fir any term not ex~e'&ding two months,
                       h the discretion of a court martial ; and if a non-
                       commissioned officer he shaU allso       be degraded and
                       placed in the ranks.
           U.) lde& Snc. 53. And be it enacted, That it thall not be
           Wil t&be, lawful for any, non-commissioned officer or private
           I) ought on
           Igade..     to colne on iiarade with a loaded or charged musket,
                        guni'rifle, fusee or pistol, nor to discharge any fire
                        arms within one uile-of the place of parade,. on any
                        day that'they shall be ordered out for improvement
                        or inspection, without an Order or pe-'viision of a
                        'ommissirned officer.; and if any ,iuch non-'com-
                        missioncdofficer or private shall Go load or charge,
                        or fire or discharge any fire arm, without inch or-
                        der or permission, he shall forfit on& dollar for
                        everv offence; and the clerk of the company it
           Clerk t hereby         directed
                           t calling
                        after          the roll  read this section immediately
                                             to of  the company, and .the corn-
           read: this
           C£:a. k misgioned officers arc hereby enjoined to cause the
                        na -,en  of those persons who nhall offend, to be re-
                        turned to thle regimental court-m.rtial.
                            Sirc.'54. Andbe it encwted, That the militia of thio
           military state shall be considvred tobe under militarv disci-
           difeipline pline from the rising until the setting of tihsun of
           from thing the same day, that they shall be ordered oit for iiii-
           of the fun, provement or inrpection, -nd that no officer, non-
                         commissioned ofilc6v (Pr private bWlonging to the
                        same, during the. time aforebaid :shall be subject
                         t h,:-breoten   o     I CyiVilI1VOCe 11Y.
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 31 of 33




                        SEc. 55. And be it enacted, That the militia on Three
                    tlie days *ofexercise, Oiay be detained under' arms, hc        -u.
                    o duiy in th 'field' 'any time not 'exceeding six -dr arma.
                    hours,. pr6vided they are not kept above: three
                    hours' under arms at any one time, without allowing
                   them a proper time'to refresh theinselves.
                    ' Src. 56. And be it enacted, That any person who
                    shallbring any kind of spiriluous liquorsto the plac'eLquor&
                   of exercise, or within one mile thereof, for the iodcitld.
                    purpbse of*rctailing shall forfeit such liqtiors, for
                    tie u of-the poor, belonging to th city or tow'h-
                   ship where such exercise is had ; and the corn-
                    inanding officer of the regiment, battilion or com-
                    pany, is charged with thd execution of ihis article.
                                                                              '
                       SEc. 67. And be it enacted, That the rules ofB ansteu-
                    discipline approved and established by congrcs8, in cif:,
                   their resolution of the twenty-ninth day of March,
                    one thousand seven hundred and seventy-nine, shall
                   be the rules of discipline to be observed by the ni-
                   litia throughotlt this statc', except such deviations
                    from said rules, as may be fendered necessary by
                   the requisitions of the acts of corigress, or .nome
                    other unavoidable circunmistance.s. It" shdll be the
                    duty of the commaiding officer, at every training,
                   whether by regiment battalion or singfe company,
                   to cause the militia to be exercised and trained, a-
                    grecably to the said rules of'discipline ; and the
                   iastractionslaid down by the Baron Steuben: and
                   annexed to the said rules of discipline pointing out
                   the respective duties 6f the officers, non;cominis-
                   sioned officers and privates, 'are recommended and
                   enjoined uponthe militia of this state, as particu-
                   Lirly and fully as if the said instructlons were re-
                   pcatcd in this act at length.
                       Ssc. 58. And be it enactc.i, Tlhat every officer
                   Nvho shall attend on courts-martial, -Aiall be entitled Memibers
                   to receive from the paymaster of the battalion in ,,fowl.
                   which the oillender resides, the sum of one dol- todollars.
                   lar and fifty cents each, for every day they shall res-
                   pectively atted ; and all persons attending before Witrrffe
                   .id courts, or either of theml as witnesses, shal be filty ccnts;
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 32 of 33




                entitled4to receive from the said paymaster, fif4.
                cents, each, per day, provided that no m.ore than
                two witnesses on the part of the state,'ind two it-
                nesses on the part 9f the offender, shall be entitled
                to pay: all which sums shall be paid by the said
                paymaster on certificates sigiied by the judge-advo-
                cate of the court artial.          .
                      SEc. 50. And'be it enacted, That if any bye-
      vi fined f rstander shall interrupt, molest or insu'lt, by abusive
       sisbeha- words or behavior, any officer or soldier, while on
       vier.       duty at any training or muster, he shall be immedi-
                   ately put under guard, and kept, at tie discretion of
                   the commandant of the regiment, battalion, squad-
                   ron, company or corps, untitle setting of the sui
                  oftlic sare day, on which such ofrene shall be coin-
                  mitted, or if any bye-stander shall be guilt) of any
                  like conduct beforc a court-martial, he shall. be fined
                   in any sum not exceeding twenty dollars, with cosi
                  of prosecution, to be recovered before any justice of
                  the peace, by the battalion paymaster, who shall s 6
      Pines col. for and pay.the same to the brigade paymaster.
      lected by       SEC. 60. And be it enacted, That all fines impo-
      baalio,, sed at any' court-martial, shaI be'certified and re-
      paynaltere turned by the judge-advoate to the brigade pay.
                  master, and also to the paymaster of the battalion in
                  whlich the person on whom such fine shall be impo:
                  sed ina) bdlong, to bt: by the said battalion paymas-
                  ter coected in like manner as fines assessed by the
                  court of appeals are to be recovered and paid to the
      Gena - paymaster of the brigade.
      d t"erb'       SZc. 61. And be'it enacted, That two thousand
      publifhed copies of this act, together with the general orders
            this of goverinor Patersoni, of the twenty-ninth (lay of
          'with
      laws        January, sevente.., iundred and ninety-two; of
                  governor'Hwell, on the tenth day of June, and of
                  gen. Doughity, on the sixth lay ot July, seventecn
                  hundred and iinety-three, and of governor Bloom-
                  field, on the twelfth day of March, eighteen hun-
                  dred and four, respecting the uniform and dress, of
                 the militia of this state, and also the laws of the
                 i ffited States, w!-.1c provide for the iational de-
Case 1:22-cv-00986-GTS-CFH Document 49-16 Filed 10/13/22 Page 33 of 33




                 fence, shall be printed and distributed under the d&-
                 recti'6n of the commander in chief, by the adjutan
                 general, to the several officers of the militia'" and it
                 shall be the duty of any officer, having ddch copy or
                 copies on his goingout of offlce,t0 deliver,or,in caiso
                 of death, his executors or administrators shall de-
                 livei under the penalty of five dollars, to the succes-
                 sor in office, who shall prosecute for the same of the
                 person so going out of officd or dying,-the aforesaid
                 copy or copies.
                   SE&.€   62. And be it enacted, That the'act entitled Iopeal of
                 "An act for the regulation of the militia of New-: fotet
                 Jdrsey," passed the thirteenth day 6f June, seven- act$.
                 teen hundred and ninety-nine, and the supplement
                 thereto, passed the first day 6f March, eighteen
                 hundred and four, shall be and the same are hereby
                 repealed, 6nd made null and void : Providedalways,
                 That nothing herein contained shall be construed so'
                 as to re ,i',e any former law or laws,which in and by.
                 the said recited acts is or are repealed and made
                 void, or to prevent the recovery of any fines or
                 forfeitures, incurred under the same, or any of
                 t~lem.
                    A. Pa.med at Tienton March 11 1800.




                                CHAP. CLXXXVI'I.

                 An act to incorporate the Newark and Mount-'
                           Pleasant Tumpike Compahy.

                   Sac. 1. BE IT ENACTED by the eoun cil
                 andgeneral assembhr of this state; and it is'hreby
                 enactedby the authority of the same, That Joseph Commoh.
                 T. Baldwin, Nathaniel Beach, Isaac Pieison,' Hi- loners to-
                 ram Smith and Joseph Jackson, be authorized to receive fub
                 receive subscriptions for erecting a turnpike rea.,        -
